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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

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Yu Peng Lu, individually and on

behalf of all other employees similarly situated,

Plaintiffs, ATTORNEY DECLARATION
-against-

NISEN SUSHI OF COMMACK, LLC d/b/a
Nisen Sushi, TOM LAM, and ROBERT BEER,

Defendants.
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I, CHRISTOPHER J. CASSAR, an attorney duly licensed to practice law in the Eastern
District of New York, hereby declares as follows under the penalties of perjury, pursuant to 28
U.S.C. 1746:

1. lam an attorney with THE CASSAR LAW FIRM, P.C., attorney for the Defendants, NISEN
SUSHI OF COMMACK, LLC d/b/a Nisen Sushi, and TOM LAM in the above captioned
matter.

2. Lam fully familiar with the facts described herein by virtue of my representation of the
Defendants in this case, conversations with Defendant, TOM LAM, a review of the Court’s
Docket History, the pleadings, and other materials in this matter.

3. A default was granted by the Clerk of the Court against the Defendants on April 6, 2020 in
the amount of $248.536.47.

4. The Defendants now move to set aside the default for good cause and vacate the default
judgment.

WHEREFORE, it is respectfully requested that this Honorable Court grant the Defendants

motion in all respects, and for such other and further relief as is just and proper.

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Dated: Huntington, New York
December 2, 2020
Yours, etc.,
THE CASSAR LAW FIRM, P.C.
By: /s/
Christopher J. Cassar, Esq. (CC9520)
Attorneys for the Defendants
NISEN SUSHI OF COMMACK, LLC d/b/a
Nisen Sushi, and TOM LAM
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